                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                               DOCKET NO.: 5:05CR9


UNITED STATES OF AMERICA,                 )
          Plaintiff                       )
vs.                                       )
                                          )                              ORDER
CHARLES REGINALD ECKLES,                  )
            Defendant.                    )
                                          )
_________________________________________ )


       THIS MATTER IS BEFORE THE COURT upon the receipt of a letter, dated June 26,

2005, from Charles Reginald Eckles, to United States Magistrate Judge Carl Horn (the “Letter”).

In the Letter, Mr. Eckles, who is currently in custody, asks for a bond review hearing.

       The record reflects that Mr. Eckles is represented by retained counsel, J. Brantley Ostwalt,

Jr. It is the practice of this Court, when a defendant is represented by counsel, to rule on motions

filed only by counsel of record. Therefore, if Mr. Eckles has any matters he wishes this Court to

consider, they must be submitted through his attorney.

       IT IS, THEREFORE, ORDERED that Mr. Eckles’ request for a bond review hearing is

DENIED without prejudice to his right to re-file the motion, if appropriate, through his attorney, Mr.

Ostwalt.

       The Clerk of Court is directed to send a copy of the Letter to Mr. Ostwalt along with his copy

of this Order.




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                         Signed: July 11, 2005




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